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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
        v.                                       ) Case No. 1:22-cr-00144-GMH-1
                                                 )
 RICHARD GUSTAVE OLSON, JR.,                     )
                                                 )
                Defendant.                       )
                                                 )

                                NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Russell D. Duncan, Esq. of Clark Hill PLC hereby enters

his appearance on behalf of Defendant Richard Gustave Olson, Jr. Mr. Duncan hereby requests to

receive Notice of Electronic Filings of all documents in the above-referenced case.


                                                  Respectfully submitted,

                                                  /s/ Russell D. Duncan
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                                                  Counsel for Defendant
                                                  Richard Gustave Olson, Jr.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of May, 2022, a true and correct copy of the above

and foregoing Notice of Appearance was electronically filed with the Clerk of the Court, which

will send notice to the following counsel of record:

                Evan N. Turgeon, Esq.
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                Counsel for Defendant Richard Gustave Olson, Jr.




                                                       /s/ Russell D. Duncan
                                                       Russell D. Duncan, Esq.




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